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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
 ________________________________
                                      :
 Mary Girsch-Bock,                    :
                                      : Civil Action No.: 4:16-cv-1605-JCH
                   Plaintiff,         :
       v.                             :
                                      :
 Medicredit, Inc.,                    :                                                            (
                                      :                                                            (
                   Defendant.         :                                                            D
 ________________________________     :                                                            R
                                      :                                                            H
                               STIPULATION OF DISMISSAL

       WHEREAS, the parties to the above-entitled action have resolved the issues alleged in

the complaint in this action, and have negotiated in good faith for that purpose; and

       WHEREAS, none of the parties to the above-captioned action is an infant or incompetent

person; and

       WHEREAS, the parties in the above-captioned action wish to discontinue the litigation;

       IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the above-captioned action

is hereby dismissed in its entirety with prejudice and without costs to any party.

  Mary Girsch-Bock                              Medicredit, Inc.

  ___/s/ Sergei Lemberg__________               _/s/ Arthur D. Gregg ___________

  Sergei Lemberg, Esq.                          Scott J. Dickinson, Esq.
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SO ORDERED
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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 21, 2017, a true and correct copy of the foregoing Stipulation
of Dismissal was served electronically by the U.S. District Court for the Eastern District of
Missouri Electronic Document Filing System (ECF), which sent notice of such filing to the
following:

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                                             By_/s/ Sergei Lemberg_________
                                                 Sergei Lemberg, Esq.
